Case 17-40539-KKS Doc 60 Filed 07/02/18 Page 1 of 8

Fill in this information to identi
Debtol 1 Harold Uzze|l

Debtor2 Erica C Uzzell
[Spouse, if frling)

Unlted States Bankruptcy Court for the: NORTHERN DlSTRlCT OF FLORIDA

Case number 17_40539 gy< if this is:

m known; An amended filing

l:| A supplement showing postpetition chapter
13 income as of the following date:

 

 

O'H:icla| Form 106| m
Schedu|e l: Your lncome 12115

 

Be as complete and accurate as possibie. lf two married people are filing together (Debtor1 and Debtor 2), both are equally responsible for
supplying correct information. lf you are married and not filing joint|y, and your spouse is living with you, include information about your
spouse. lf you are separated and your spouse is not filing with you, do not include information about your spouse. lf more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

mescribe Emp|oyment

1. Fi|l in your employment

 

 

 

 

information Debtor1 Debtor 2 or non-filing spouse
lf you have more than one job. - Emp!oyed - Employed
attach a separate page with Emp|oyment mathis
information about additional n N°t employed n N°t employed
employersl .
Occupation Se|f Emp|oyed Manager
include part»time. seasona|, or _
self-employed work. Emp|°.‘¢‘e"'$ name Advertising State Of Florlda
OOrc::rpq:t;o;kn;:yfl:c;:::es;udent Emp|oyers address 200 Gaines St_
Tal|ahassee, FL 32301

 

How long employed there? 10 years

m Give Detai|s About |'\llonth|y income

Estimate monthly income as of the date you file this form. !f you have nothing to report for any line, write $0 in the space. lnclude your non-filing
spouse unless you are separated

lf you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. if you need
more space, attach a separate sheet to this form

For Debtor 1 For Debtor 2 or
non-filing spouse

List monthly gross wages, salary, and commissions (before all payroll

 

 

 

2- deductions)l lf not paid monthly, calculate what the monthly wage would be. 2- 3 0'00 $ 31413'00
3. Estimate and list monthly overtime pay. 3. +$ 0.00 +$ 0.00
4. Calculate gross lncorne. Add line 2 + line 3. 4. $ 0_00 $ 3,413_00

 

 

 

 

 

Of`l`rcial Form 106l Schedulc l: Your Income page l

Debtc,rq Harold Uzze|l
Deotor 2 Erica C Uzzell Case number (irknowni 17'40539
For Debtor 1 For Debtor 2 or
non-filing spouse
Copy line 4 here 4. $ 0.00 $ 3,413.00
5. List all payroll deductions:
5a Tax, Niedicare, and Sociai Security deductions 53. $ 0.00 $ 426.00
5b. Mandatory contributions for retirement plans 5b. $ 0.00 $ 102.00
50 Voluntary contributions for retirement plans 5c. $ 0,00 $ 25.00
5ci. Required repayments of retirement fund loans 5d. $ 0.00 $ 0.00
5e. insurance 59. $ 0.00 $ 180.00
5f` Domestic support obligations 5f. $ 0.00 $ 0.00
59. Union dues 59. $ 0.00 3 0.00
5hl Other deductions Specify: Parking 5h.+ 5 0,00 $ 2_00
6. Add the payroll deductions Add lines Sa+5b+5c+5d+5e+5f+5g+5h. 6. $ 0.00 $ 735.00
7. Calculate total monthly take-home pay. Subtract line 6 from line 4r 7. $ 0.00 $ 2,678.00
8. List all other income regularly received:
Ba. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts ordinary and necessary business expenses, and the total
monthly net income Ba. $ 1,000.00 5 0.00
Bb. interest and dividends Bb. $ O.DO 5 0.00
Bc. Family support payments that you, a non-filing spouse, or a dependent
regularly receive
include alimony‘ spousal support, child support, maintenancel divorce
settlement and property settlement 8c. $ 0.00 $ 0.00
8d. Unempioyment compensation 8d. $ 0,00 $ 0.00
8e. Sociai Security 8€. $ 0.00 $ 0.00
8f. Other government assistance that you regularly receive
include cash assistance and the value (if known) of any non-cash assistance
that you receivel such as food stamps (benetits under the Suppiementai
Nutrition Assistance Program) or housing subsidies.
Specify: 8\‘. $ 0.00 $ 0.00
Bg. Pension or retirement income 39- 3 0.00 $ 0.00
Bh. Other monthly income. Specify: 8h.+ $ 0.00 $ 0.00
9. Add all other income. Add lines 8a+8b+8c+8d+8e+8f+89+8h. 9. $ 1,000.00 5 0.00
10. Calculate monthly income. Add line 7 + line 9. 10. $ 1,000.00 + $ 2,678.00 = $ 3,678.00
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
it. State all other regular contributions to the expenses that you list in Schedule J.
include contributions from an unmarried partnerl members of your househoid, your dependentsl your roommates` and
other friends or relatives
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
Specify: 11. +$ O_OO
12\ Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on the Summary of Schedules and Siati'stical Surnrnary of Certain l_iabr'liries and Reiated Data, if it
applies 5 3,6'!'3.00l
Combined
monthly income
13. Do you expect an increase or decrease within the year after you file this form?

l
l:l

CaS€ 17-40539-KKS

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No.

 

 

 

 

 

Yes. Expiain:

(Jl`t`icial i"orm 1061

Schedn|e I: Your lncome

d

page 2

Case 17-40539-KKS Doc 60 Filed 07/02/18 Page 3 of 8

Fiii in this information to identify your case:

 

 

Debtor1 Haro|d Uzze|[ Ch cit if this is:
An amended filing
Debior 2 Erjca C Uzze" ij A supplement showing postpetition chapter

 

(Spouse, iffiling) 13 expenses as of the following date:

 

United States Banl<ruptcy Court forthe.' NORTHERN DlSTR|CT OF FLOR|DA M|Vl f DD/ YYYY

Case number 17_40539

(|t known)

 

 

Officia| Form 106.1
Scheduie J: Your Expenses ims

Be as complete and accurate as possibie. if two married people are filing together, both are equally responsible for supplying correct
information lf more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Describe Your Househo|d
11 is this a joint case?
l:l No. Go to line 2.
- Yes. Does Debtor 2 live in a separate househo|d?

- No
l:l Yes. Debtor 2 must file Officia| Form 106J-21 Expenses for Separate Household of Debtor 2.

 

2. Do you have dependents? ij No

 

 

 

Do not list Debtor ‘l and - Yes4 Fiii out this information for Dependent’s relationship to Dependent's ideas dependent
Debtor 2_ each dependent ............. Debtor 1 or Debtor 2 age live with you?
WMMM! amstar c.‘:armr;t'»'.rr\::°£_':

Do not state the n N°
dependents names. Daughter 17 l Yes

l:l No

l:l Yes

|:l No

l:l Yes

El No

l:i res

 

3. Do your expenses include - No
expenses of people other than n
yourself and your dependents? yes

Estimate Your Ongoing Month|y Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. if this is a supplemental Scheduie J, check the box at the top of the form and fill in the

applicable date.

include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Scheduie I: Yourlncome

(Officia| Form 1061.) Your expenses 17

   

4. The rental or home ownership expenses for your residence include first mortgage

 

 

 

 

 

 

payments and any rent for the ground or lot. 4- 3 3»397'82

if not included in line 4:

4a Rea| estate taxes 4a $ 0.00

4b. Property, homeowner’sl or renter`s insurance 4b. $ 0_00

4c. Home maintenance repair, and upkeep expenses 4c. $ 0_00

4d. Homeowner’s association or condominium dues 4d. $ 0_00
5. Additional mortgage payments for your residencel such as horne equity loans 5, $ 0_00

Officiai Form 106J Scheduie J: Your Expenses page 1

Case 17-40539-KKS Doc 60 Filed 07/02/18 Page 4 of 8

Debtor 1 Haro|d Uzze|l

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 2 Erica C Uzze|| Case number (il‘ known) 17"40539
6, Utilities:

6a1 Electricityl heatl natural gas 6a $ 450.00

6b Water, sewer, garbage collection Gb. $ 0.00

6c. Telephone, cell phone, lnternetl satellite, and cable services Sc. $ 495_00

Sd. Other. Specify: Security 65. $ 50.00
7. Food and housekeeping supplies 7. $ 500.00
8. Childcare and children's education costs 8. $ 0.00
9\ Clothing, |aundry, and dry cleaning 9. $ 0.00
101 F’ersona| care products and services 10. $ 0.00
11. Medical and dental expenses 11v $ 10.00
12. Tr tion. inclu as. maintenance bus ortrain fare.

Doa:§tpi:;ti:de car pay£z:egnts 12~ $ 175'00
13. Entertainmentl clubs, recreation, newspapers, magazines, and books 13. $ 50_00
14, Charitab|e contributions and religious donations 14. $ 0.00
15. lnsurance.

Do not include insurance deducted from your pay or included in lines 4 or 20.

15a Life insurance 153. $ 0.0D

15b. Health insurance 15b. $ 0.00

15c, Vehic|e insurance 1504 $ 500.00

15d. Other insurance Specify: 15d. 3 0.00
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.

Specify: 16. $ 0.00
17. installment or lease payments:

17a Car payments for Vehicie 1 17a. $ 0.00

i7b. Car payments for Vehicie 2 17b. $ 0.00

17c. Other. Specify: 17C- $ 0.00

17d. Other. Specify: 17d. $ 0.00
18. Your payments of alimony, maintenance. and support that you did not report as

deducted from your pay on line 5, Scheduie l, Your income (Of'ficiai Form 1061). 18- $ 0'00
19. Other payments you make to support others who do not live with you. $ 0.00

Specify: 19.
20. Other real property expenses not included in lines 4 or 5 of this form or on Scheduie l': Yourl'ncome.

20a Niortgages on other property 20a $ 0.00

20b. Reai estate taxes 20b. $ 0.00

20c, Property, homeowner’s, or renter's insurance 20c. 5 0_0()

20d. |\liaintenancel repair, and upkeep expenses 20d. $ O_DO

20e. Homeowner’s association or condominium dues ZGe. $ 0_00
21. Other: Specify: 21. +$ 0.00
22. Calculate your monthly expenses

22a Add lines 4 through 21. $ 5,627.82

22b. Copy line 22 (monthly expenses for Debtor 2). if any, from Officiai Form 106J-2 $

22c. Add line 22a and 22b. The result is your monthly expenses $ 5,627.82
23. Calculate your monthly net income.

23a Copy line 12 (your combined monthly income) from Scheduie i. 23a $ 3,678_00

23b. Copy your monthly expenses from line 22c above. 23b. »$ 5,627_82

23c. Subtract our monthi ex enses from our monthi income.

The result is your mo:ihl}€ net income.y y 23‘3 5 '1'949'82

 

 

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
modihcation to the terms of your mortgage?

l No.

 

cl Yes. Expiain here:

Ofiicial Form 106J Scheduie J: Your Expenses page 2

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Fiii in this information to identify your case:

 

 

 

Debtor 1 Haroid Uzzel|

Firsi Name Middle Nan're i_asl Name
Debtor 2 Erica C UzZell
lSpouse il, filing) Firsi Narne Niiddle Narne Last Name

United States Bankruptcy Court for the: NORTHERN DlSTR|CT OF FLOR|DA

Case number 17-40539
rif known) [:} Check if this is an

amended H|ing

 

Officiai Form 108
Statement of intention for individuals Fiiing Under Chapter 7 12/15

if you are an individual filing under chapter 7, you must fill out this form if:

l?j creditors have claims secured by your property, or

l_s_[:l you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditorsl
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list

on the form

if two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
sign and date the form.

Be as complete and accurate as possibie. if more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

List Your Creditors Who l-iave Secured Ciaims

1. For any creditors that you listed in Part 1 of Scheduie D: Creditors Who Have Claims Secured by Property (Officiai Form 1060), fill in the
information below.

identify the creditor and the property that is collateral What do you intend to do with the property that Did you claim the property
secures a debt? as exempt on Scheduie C?
CredifOr'S Aily Financiai m Surrender the property. m No
hamel f:i Retain the property and redeem it.
[Zl Retain the property and enter into a YeS
DeSClipiiOf\ Of 2012 Cad SRX 80,000 miles Reaff.innatfon Agreement.
Property l: Retain the property and [expiain]:

securing debt:

 

 

Creditor's Avail 1 LLC lzl Surrender the property ij NO
name: m Retain the property and redeem it.

[:l Retain the property and enter into a § Y€S
DeSCFiptiOn Of 6248 Hli‘les Hil| Clrc|e Reaffi'rmatr'on Agreement.
property Tal|ahassee, FL 32312 Leon ij Retain the property and [expiain]:

securing debt: Cgunty

 

 

-List Your Unexpired Persona| Property Leases

For any unexpired personal property lease that you listed in Scheduie G: Executory Contracts and Unexpired Leases (Official Form 1066), fill
irl the information below. Do not list real estate ieases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(pl(2).

Describe your unexpired personal property leases Wiii the lease be assumed?
Lessor's name: m No
Officiai Form 108 Statement of intention for individuals Fiiing Under Chapter 7 page 1

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CaS€ 17-40539-KKS

Debtor 1 Haroid Uzzell
Deber 2 Erica C Uzzell

Descriptlon of leased
Property:

Lessor's name:
Description of leased
Property:

Lessor's name:
Description of leased
Property:

Lessor‘s name:
Description of leased
Property:

Lessor*s name:
Description of leased
Property:

Lessor's name:
Description of leased
Property:

Lessor's name:

Description of leased
Property:

Sign Below

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Case number (rrknown; 17-40539
[j Yes

No
Yes
No
Yes
No
Yes
No
Yes
No
Yes
No

Yes

UD[][]|]E[|[:|DE[]EI

Under penalty of perjury, | declare that l have indicated my intention about any property of my estate that secures a debt and any personal

property that is subject to an unexpired lease.

X lsl Haroid Uzzell
Haroid Uzzell
Signature of Debtor 1

Dafe July 2, 2018

X lsi Erica C Uzzell

Erica C Uzzell
Signature of Debtor 2

July 2, 2018

Ofticial Form 108 Statement of intention for individuals Fi|ing Under Chapter 7 page 2

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Besl Case Banl<ruplcy

Case 17-40539-KKS Doc 60 Filed 07/02/18 Page 7 of 8

Fi|| in this information to identify your case:

 

 

Debtort Haroid Uzzell
First Name Ml`ddle Name LaslName
Debtmr 2 Erica C Uzzell

 

(Spouse if. fillng) Firsl Name Middle Name Last Name

United States Bankruptcy Court for the: NORTHERN DlSTR|CT OF FLOR|DA

Case number 17.40539
(ltl<nown) [E Check if this is an
amended filing

Officiai Form 106Dec
Declaration About an individual Debtor's Schedules me

if two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20

years, or both.18 U.S.C. §§ 152, 1341l 1519, and 35?1.

- Sign Be|ow

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

 

§§ No
I_§ YBS- Name Of Person Attach Bankruptcy Petl'tiorr Preparel’s Notr'ce,
Declaralion, and Signalure (Ofncial Form 119)

 

Under penalty of perjuryl l declare that | have read the summary and schedules filed with this declaration and
that they are true and correct.

X lsir Erica C Uzzell

Erica C Uuell
Signature of Debtor 2

X lsl' Haroid Uzzell
Haroid Uzzell
Signature of Debtor 1

Dafe July 2, 2018 Date July 2, 2018

Officiai Form 1060ec Declaration About an individual Debtor's Schedules

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Besl Case Bankruptcy

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United States Bankruptcy Court
Northern District of Florida

Haroid Uzzell
ln re Erica c uzzell ease No. 1740539

 

Debtor(S) Chapter 7

 

CERTIFICATE OF SERVICE

l hereby certify that on July 2, 2018, a copy ofthe forgoing Schedules were Served electronically or by regular
United States mail to all interested parties, the Ti'ustee and ali creditors on the attached matrix.

 

lsl Robert C. Bruner

Robert C. Bruner 0065876
Bruner Wright, P.A.

2810 Remington Green Circ|e
Ta|lahassee, FL 32308

(850) 385-0342Fax:(850) 270-2441
rbruner@brunerwright.com

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